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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

EARL OWENS,                                         )
                                                    ) Cause No. 1:20-CV-1900
              Plaintiff,                            )
                                                    )
       v.                                           )
                                                    )
CONSOLIDATED CITY OF INDIANAPOLIS                   )
AND MARION COUNTY,                                  )
OFFICER MATTHEW MCFADDEN, and                       )
HAROLD BLAKE,                                       )
                                                    )
              Defendants.                           )

                      COMPLAINT FOR VIOLATION OF CIVIL RIGHTS

       COMES NOW, Plaintiff Earl Owens, by counsel, Andrea L. Ciobanu of CIOBANU LAW,

P.C., complaining of Defendants Consolidated City of Indianapolis and Marion County, Officer

Matthew McFadden, and Harold Blake and states to this Court as follows:

                                           JURISDICTION

   1. This Court has subject matter jurisdiction over this action under 28. U.S.C. § 1331 and by 42

       U.S.C. § 1983.

   2. Venue is proper under 28 U.S.C. § 1391 in that the claim alleged herein arose in and the

       location of the Defendants are in Marion County, Indiana and Morgan County, Indiana within

       the Southern District of Indiana.

                                           THE PARTIES

   3. Earl Owens (“Owens” or “Plaintiff”) is an individual and currently resides in Marion County,

       Indiana.

   4. Defendant Consolidated City of Indianapolis and Marion County is a municipal government

       entity located in Marion County, Indiana, which maintains and operates the Indianapolis
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    Metropolitan Police Department, including the Auto Theft Task Force within the Indianapolis

    Metropolitan Police Department.

 5. The Consolidated City of Indianapolis and Marion County and Indianapolis Metropolitan

    Police Department may hereinafter collectively be referred to as “IMPD”.

 6. At all relevant times, Defendant Officer Matthew McFadden was an employee of IMPD and

    was acting within the scope of this employment with IMPD as a police officer with the Auto

    Theft Task Force.

 7. At all relevant times, Defendant Harold Blake was deputy prosecutor of the Morgan County

    Prosecutor’s Office.

 8. All Defendants may collectively be referred to as “Defendants.”

                                FACTUAL ALLEGATIONS

 9. In May 2018, Detective Larry Sanders of the Morgan County Sheriff’s Office investigated

    the alleged theft of golf carts from a golf course in Morgan County.

 10. Criminal charges were eventually issued against Owens in Morgan County on July 20, 2018.

 11. Former Morgan County Deputy Prosecutor Harold Blake (hereinafter “Blake”) worked as the

    prosecutor in the criminal case against Owens.

 12. There existed jurisdictional issues in the criminal case against Owens.

 13. Despite there being jurisdictional issues and no evidence to prosecute Owens, Blake refused

    to dismiss the case and continued to pursue the groundless criminal charges against Blake.

 14. Upon information and belief, Blake acted outside the scope of his employment as a prosecutor

    and was actively involved in a police investigative role leading up to the charges being issued

    against Owens.

 15. During this time, Owens was in the process of adopting his niece.


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 16. Blake knowingly and intentionally interfered with Owens’ adoption proceedings.

 17. As a result of the false charges, Owens’ niece was removed from his home for two weeks.

 18. The removal of Owens’ niece resulted in a significant delay in the adoption process.

 19. Upon information and belief, Blake knew that Owens was in the process of adopting his niece

    and tried to extort money from the Owens, via restitution towards the groundless criminal

    charges, in connection to the adoption proceedings.

 20. Blake asked Owens’ attorney, Glen Koch, how much the adoption was worth to Owens to

    get the case dismissed.

 21. Upon information and belief, Blake wanted Owens to pay restitution to get the case dismissed

    even though he knew that the criminal charges against Owens were groundless.

 22. Blake acted outside the scope of his employment as a prosecutor when he interfered with

    Owens’ adoption proceedings.

 23. Officer Matthew McFadden (hereinafter “McFadden”) of the Auto Theft Task Force of the

    Indianapolis Metropolitan Police Department represented to Owens that there was a warrant

    to search Owens’ rental properties.

 24. Upon information and belief, IMPD’s search warrant for Owens’ properties was not valid

    and/or was not signed by a judge.

 25. McFadden knowingly and intentionally used the invalid search warrant to search Owens’

    properties after hours, resulting in harassment of Owens’ employees and tenants.

 26. The case was transferred to Boone County in July 2019, which resulted in Owens being

    arrested again and having to post another bond.

 27. After being transferred to Boone County on July 15, 2019, the criminal case against Owens

    was dismissed within 24 hours that same day.


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 28. Owens suffered damages, including, but not limited to, emotional distress, as a result of

    Defendants’ acts and/or omissions.

 29. On January 9, 2020, Owens timely served his Tort Claim Notice on Defendants.

       COUNT 1: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                        (IMPD and Blake)

 30. Plaintiff incorporates by reference the preceding paragraphs of this complaint as fully set

    forth herein. Pursuant to the federal notice pleading standard, this complaint contains a factual

    allegations section, pleaded with sufficient factual matter, which demonstrates the Plaintiff is

    entitled to relief. Fed. R. Civ. P. 8(a)(2).

 31. Defendants conspired to perpetuate a criminal action against Owens through false allegations

    and false testimony due to their own personal animus and bias against Plaintiff.

 32. Defendants acted with malice and intent in creating and perpetuating a false criminal

    proceeding against Owens, including false testimony and the creation and service of an

    invalid search warrant.

 33. Upon information and belief, Blake knew that Owens was in the process of adopting his niece

    and tried to extort money from the Owens, via restitution towards the groundless criminal

    charges, in connection to the adoption proceedings.

 34. Blake knowingly and intentionally interfered with Owens’ adoption proceedings.

 35. Blake acted outside the scope of his employment as a prosecutor when he interfered with

    Owens’ adoption proceedings.

 36. Prosecutor’s typically enjoy absolute immunity; however, this immunity does not extend to

    acts taken outside the scope of a prosecutorial role, such as administrative and investigatory




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    activities. See e.g. Buckley v. Fitzsimmons, 509 U.S. 259, 274-76, 113 S. Ct. 2606, 125 L. Ed.

    2d 209 (1993); Burns v. Reed, 500 U.S. 478, 492-95, 111 S. Ct. 1934, 114 L. Ed. 2d 547 (1991).

 37. McFadden knowingly and intentionally used an invalid search warrant to search Owens’

    properties after hours, resulting in harassment of Owens’ employees and tenants.

 38. Defendants’ actions constituted extreme and outrageous conduct that constitutes intentional

    or reckless severe emotional harm to Plaintiff.

                           COUNT 2: MALICIOUS PROSECUTION
                                     (IMPD and Blake)

 39. Plaintiff incorporates by reference the preceding paragraphs of this complaint as fully set

    forth herein. Pursuant to the federal notice pleading standard, this complaint contains a factual

    allegations section, pleaded with sufficient factual matter, which demonstrates the Plaintiff is

    entitled to relief. Fed. R. Civ. P. 8(a)(2).

 40. McFadden and Blake knowingly and intentionally caused a groundless criminal action to be

    instituted against Owens.

 41. At all relevant times, McFadden was acting within the scope of his employment with IMPD

    as a police officer.

 42. Upon information and belief, Blake acted outside the scope of his employment as a prosecutor

    and was actively involved in a police investigative role leading up to the charges being issued

    against Owens.

 43. Defendants instituted, spurred on, and/or refused to drop the criminal matter against Owens

    due to their personal animus against Owens.

 44. There was no probable cause to institute and pursue the criminal charges against Plaintiff.

 45. Despite there being jurisdictional issues and no evidence to prosecute Owens, Blake refused

    to dismiss the case and continued to pursue the groundless criminal charges against Blake.
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 46. McFadden knowingly and intentionally executed an invalid search warrant in pursuit of the

    groundless criminal charges against Owens.

 47. Blake attempted to extort money from Owens in connection to the groundless criminal

    charges and Owens’ adoption of Owen’s niece.

 48. Prosecutor’s typically enjoy absolute immunity; however, this immunity does not extend to

    acts taken outside the scope of a prosecutorial role, such as administrative and investigatory

    activities. See e.g. Buckley v. Fitzsimmons, 509 U.S. 259, 274-76, 113 S. Ct. 2606, 125 L. Ed.

    2d 209 (1993); Burns v. Reed, 500 U.S. 478, 492-95, 111 S. Ct. 1934, 114 L. Ed. 2d 547 (1991).

 49. The criminal proceedings against Owens were dismissed.

 50. Upon information and belief, Defendants conspired to deprive Owens of his due process,

    equal protection, and Constitutional rights by working together to threaten Owens and

    perpetuate false testimony and false criminal allegations against Owens.

COUNT 3: FOURTEENTH AMENDMENT | VIOLATION OF DUE PROCESS CLAUSE
                 AND EQUAL PROTECTION CLAUSE

    (IMPD is its official capacity and McFadden and Blake in their individual capacities)

 51. Plaintiff incorporates by reference the preceding paragraphs of this complaint as fully set

    forth herein. Pursuant to the federal notice pleading standard, this complaint contains a factual

    allegations section, pleaded with sufficient factual matter, which demonstrates the Plaintiff is

    entitled to relief. Fed. R. Civ. P. 8(a)(2).

 52. Defendants’ actions and omissions gave rise to violations of Owens’ Constitutional Due

    Process Clause and Equal Protection Clause rights as a United States citizen.

 53. Owens was subjected to disparate and discriminatory treatment when McFadden and Blake

    knowingly and intentionally instituted and/or pursued criminal charges against Owens which

    they knew to be false.
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   54. Despite there being jurisdictional issues and no evidence to prosecute Owens, Blake refused

       to dismiss the case and continued to pursue the groundless criminal charges against Blake.

   55. Blake attempted to extort money from Owens in connection to the groundless criminal

       charges and Owens’ adoption of Owens’ niece.

   56. Prosecutor’s typically enjoy absolute immunity; however, this immunity does not extend to

       acts taken outside the scope of a prosecutorial role, such as administrative and investigatory

       activities. See e.g. Buckley v. Fitzsimmons, 509 U.S. 259, 274-76, 113 S. Ct. 2606, 125 L. Ed.

       2d 209 (1993); Burns v. Reed, 500 U.S. 478, 492-95, 111 S. Ct. 1934, 114 L. Ed. 2d 547 (1991).

   57. McFadden led the IMPD’s Auto Theft Task Force in illegally searching Owens’ business’

       property after hours, resulting in harassment of employees and tenants.

   58. McFadden knowingly and intentionally used an invalid search warrant to illegally search

       Owens’ business property.

   59. Owens’ Due Process Clause rights were violated when he was unfairly prosecuted for a

       crime, despite the fact that several of the actors intentionally falsified testimony and evidence

       in pursuit of the conviction against him.

   60. Owens’ Due Process Clause rights were violated by Defendants throughout his criminal

       proceedings as a result of personal animus and bias that the Defendants harbored against him.

   61. Defendants knew or should have known that their acts and omissions were likely to result in

       a violation of the Fourteenth Amendment rights of innocent persons.

                                     PRAYER FOR RELIEF

       Owens prays that a judgement be entered on his behalf and against the Defendants on all

Counts of this Complaint.




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                                     RESERVATION OF RIGHTS

    Owens reserves the right to proceed with any and all claims which the facts averred in this

complaint support, pursuant to the notice pleading requirement of F.R.C.P. 8.

    WHEREFORE, Owens respectfully requests this Court to enter judgment in favor of him on all

counts of his Complaint, award him compensatory damages and punitive damages as well as

litigation costs, and grant him such other and further relief as this Court deems just under the

circumstances, including, but not limited to, a public apology, attorney’s fees, and pre and post-

judgment interest.

                                 DEMAND FOR JURY TRIAL

       Owens hereby demands a trial by jury of all issues so triable.

Date: July 17, 2020

                                                     Respectfully submitted,

                                                     s/ Andrea L. Ciobanu___________
                                                     Andrea L. Ciobanu, #28942-49
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